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                                                                                    11/2/2023
  BY ECF
  Honorable Judge Orelia E. Merchant
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201

   Re: State Farm Mutual Automobile Insurance Company, et al., v. Eclipse
   Medical Imaging, P.C., Index No. 23-cv-03124; Letter Motion for a Pre-
   Motion Conference for a Federal Rule 12(b)6 Motion to Dismiss and to
   Compel Arbitration

  Dear Judge Merchant:

        We write on behalf of Defendant Eclipse Medical Imaging, P.C. (“Eclipse”)
  pursuant to Your Honor’s Individual Rule III.B.1 to respond to the Amended
  Complaint in this matter and request a pre-motion conference in anticipation of
  Eclipse’s proposed motion to dismiss the Complaint and compel arbitration.

         Plaintiff is an insurance company that sells automobile insurance in New York
  State subject to the state’s No-Fault Automobile Insurance laws and regulations.
  Eclipse is a medical provider that treats patients injured in automobile accidents,
  among other patients. Eclipse’s patients seeking post-accident medical treatment
  frequently assign their rights to collect insurance benefits from insurers to Eclipse,
  which then submits bills directly to the relevant insurance companies, including
  Plaintiffs. When insurance companies deny claims, Eclipse payment via arbitration
  or court actions in which the insurance company may raise myriad defenses to
  payment. Relevant to this matter, one such defense is that either the patient or the
  medical provider failed to comply with proper verification of treatment requests from
  the insurer, including requests for examinations under oath (“EUOs”) or documents.
  In this matter, Plaintiffs have raised this defense as a declaratory judgment cause of
  action, specifically alleging that Eclipse was obligated to provide numerous
  documents after its owner had appeared for an EUO demanded by Plaintiffs. ECF
  No. 1 at ¶28. Plaintiffs’ Complaint refers to the verification demands as “additional
  verification,” though Plaintiffs are careful to omit the fact that Eclipse complied with


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  Plaintiffs’ verification demands and its owner appeared not only for the demanded
  EUO but also for additional documents Eclipse did provide.

         This case ought to be dismissed because: (i) this action is barred by the
  doctrines of res judicata and collateral estoppel, as multiple arbitrators have already
  ruled that Eclipse has substantially complied with Plaintiffs’ verification demands
  and ordering Plaintiff to pay the relevant No-Fault bills (ii) Plaintiffs’ post-
  verification demands were impermissible in the first place; and (iii) Eclipse has
  already exercised its right to arbitrate Plaintiffs’ defenses.

         Collateral estoppel, or issue preclusion, bars a party from relitigating “in a
  subsequent action or proceeding an issue clearly raised in a prior action or proceeding
  and decided against that party . . ., whether or not the tribunals or causes of action
  are the same.” BDO Seidman LLP v. Strategic Resources Corp., 70 A.D.3d 556, 560
  (N.Y. 1st Dept. 2010), quoting Ryan v. New York Tel. Co., 62 N.Y.2d 494, 500 (N.Y.
  Ct. App 1984). The doctrine applies when an issue has been “‘necessarily decided in
  the prior action and is decisive in the present action,’ and plaintiff had a full and fair
  opportunity to litigate the issue in the prior action.” Kaspiev v. Corbis Corp., 158
  A.D.3d 531, 532 (N.Y. 1st Dept. 2018) quoting D'Arata v. New York Cent. Mut. Fire
  Ins. Co., 76 N.Y.2d 659, 664 (N.Y. Ct. App. 1990).

         The doctrine applies to arbitration awards; an “arbitration award constitutes
  a valid final judgment for collateral estoppel purposes.” Doscher v. Manatt, 148
  A.D.3d at 524 (N.Y. 1st Dept. 2017) citing Acevedo v. Holton, 239 A.D.2d 194 (N.Y.
  1st Dept 1997) and Franklin Dev. Co., Inc. v. Atlantic Mut. Ins. Co., 60 A.D.3d 897
  (N.Y. 2d Dept 2009). Here, State Farm was a party to prior arbitrations in which it
  litigated whether it could delay or deny payment of Eclipse’s No-Fault claims based
  on allegations that Eclipse did not fully comply with its verification obligations.

        The Complaint must also be dismissed because Plaintiffs have abused the No-
  Fault verification process to impermissibly demand leases, bank, records, and other
  documents not necessary to verify Eclipse’s claims. New York courts have held that
  demands for documents allegedly related to a provider’s alleged fraudulent
  incorporation such as “sale of shares or transfer of ownership (and) lease agreements
  are impermissible and improper [No-Fault verification] requests.” Island
  Chiropractic Testing, P.C. v. Nationwide Ins. Co., 2012 NY Slip Op 51001(U), ¶ 2, 35
  Misc. 3d 1235(A), 1235A, 953 N.Y.S.2d 550 (Suffolk Cty. Dist. Ct. 2012). Here,
  Plaintiffs premise their suit on the reasonability of their verification demands to
  probe whether Dr. Baldassare owns and controls Eclipse. ECF No. 1 at ¶¶36-44.
  Indulging Plaintiffs’ game-playing to further delay payment of valid No-Fault bills
  when it demands “written documents such as tax returns, incorporation agreements

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  or leases regarding a potential fraudulent incorporation ‘Malella’ defense . . . defeats
  the stated policy and purpose of the no-fault law and carries with it the potential for
  abuse. Island Chiropractic Testing, P.C., 2012 NY Slip Op 51001(U), ¶ 2.

         Eclipse has affirmatively chosen to arbitrate most of its No-Fault claims
  submitted to Plaintiffs pursuant to the policies of insurance Plaintiffs have chosen to
  issue to New York motorists. Indeed, arbitrators have already repeatedly found in
  Eclipse’s favor on the theories Plaintiff raises in its Complaint. This case ought thus
  be dismissed and the underlying arbitrations go forward under the Federal
  Arbitration Act. 9 U.S.C. § 2

        Eclipse thus requests a pre-motion conference at the Court’s convenience.

        Thank you for your consideration of this letter.

                                                        Respectfully,
                                                        /s/ _______________
                                                        Nicholas Bowers, Esq.
  Cc: All Counsel via ECF                               Counsel for Parties Named Herein
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